                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT WINCHESTER

 JOHN P. MORROW,                                      )
                                                      )
                Petitioner,                           )
                                                      )
 v.                                                   )       Nos.    4:04-CR-29-TRM-SKL-2
                                                      )               4:16-CV-80-TRM
 UNITED STATES OF AMERICA,                            )
                                                      )
                Respondent.                           )


                                  MEMORANDUM OPINION

        Now before the Court now is Petitioner’s pro se motion to vacate, set aside, or correct his

 sentence pursuant to 28 U.S.C. § 2255. [Doc. 272.] He bases his request for relief on Johnson v.

 United States, 135 S. Ct. 2551 (2015), in which the Supreme Court held that the residual clause

 of the Armed Career Criminal Act (“ACCA”) was unconstitutionally vague. [Id.] For the

 following reasons, Petitioner’s § 2255 petition [Doc. 272] will be DENIED and DISMISSED

 WITH PREJUDICE.

 I.     BACKGROUND

        In 2005, Petitioner pled guilty to assaulting a mail carrier with a weapon, in violation of

 18 U.S.C. §§ 2114(a) and 2(a) and (b) (“Count One”), brandishing a firearm during and in

 relation to a crime of violence, in violation of 18 U.S.C. §§ 924(c) and 2(a) and (b) (“Count

 Two”), stealing a postal money order machine, in violation of 18 U.S.C. §§ 500 and 2(a) and (b)

 (“Count Three”), and conspiring to commit offenses against the United States, in violation of 18

 U.S.C. §§ 371 and 2(a) and (b) (“Count Four”). [Docs. 1, 22, 205, 272.] On October 6, 2005,

 Petitioner was sentenced to a total of 214 months’ imprisonment—130 months’ incarceration for




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 Count One, two concurrent 60-month terms for Counts Three and Four, and a consecutive 84-

 month term for Count Two, the § 924(c) offense. [Doc. 205.]

        No appeal was taken, and the conviction became final on October 20, 2005, at the

 expiration of time to appeal. See Sanchez-Castellano v. United States, 358 F.3d 424, 428 (6th

 Cir. 2004) (explaining an unappealed judgment of conviction becomes final when the time for

 filing a direct appeal has elapsed); Fed. R. App. Proc. 4(b)(1)(A)(i) (“In a criminal case, a

 defendant’s notice of appeal must be filed in the district court within 14 days after . . . the entry

 of . . . judgment.”). More than ten and a half years later—on June 29, 2016—Petitioner filed the

 instant petition for relief seeking correction of his sentence in light of Johnson. [Doc. 272.]

 II.    ANALYSIS

        Petitioner’s argument appears to be that Johnson invalidated the similarly-worded

 residual clause in § 924(c)(3)(B), thereby precluding his violation of 18 U.S.C. § 2114(a) from

 categorization as a “crime of violence” sufficient to support a conviction under § 924(c)(1)(A)

 [Doc. 34 (arguing he is entitled to vacatur of his § 924(c) conviction)]. The argument fails for

 two reasons.

        First, binding Sixth Circuit precedent holds that, while Johnson invalidated the residual

 provision of the Armed Career Criminal Act (“ACCA”), 18 U.S.C. 924(e), an identically worded

 clause in Section 4B1.2 of the United States Sentencing Guidelines, § 924(c)(3)(B)’s definition

 of crime of violence remains unaffected.1 See United States v. Pawlak, No.15-3566, 2016 WL



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   The ACCA mandates a 15-year sentence for any felon who unlawfully possesses a firearm after
 having sustained three prior convictions “for a violent felony or a serious drug offense, or both,
 committed on occasions different from one another.” 18 U.S.C. § 924(e)(1). The statute defines
 “violent felony” as “any crime punishable by imprisonment for a term exceeding one year” that
 (1) “has as an element the use, attempted use, or threatened use of physical force against the
 person of another” (the “use-of-physical-force clause”); (2) “is burglary, arson, or extortion,
                                                 2


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 2802723, at *8 (6th Cir. Mar. 13, 2016) (concluding “rationale of Johnson applies equally” to the

 Guidelines’ definition of crime of violence); United States v. Taylor, 814 F.3d 340, 376–79 (6th

 Cir. 2016) (recognizing at least four “significant differences” between the residual clause in §

 924(c)(3)(B) and the ACCA’s residual clause and noting “the argument that Johnson effectively

 invalidated [the former] is . . . without merit”). As such, the conviction under 18 U.S.C. §

 2114(a) remains capable of supporting his conviction under § 924(c)(1)(A).

        Second, even if Johnson’s reasoning could be used to invalidate § 924(c)(3)(B)’s residual

 clause, Petitioner’s conviction under 18 U.S.C. § 2114(a) would remain a crime of violence

 under the provision because the offense qualifies under the use-of-physical-force clause

 contained in § 924(c)(3)(A). An offense qualifies as a crime of violence if it “has as an element

 the use, attempted use, or threatened use of physical force against the person or property of

 another.” 18 U.S.C. § 924(c)(3)(A). Petitioner’s conviction, which by definition involves the


 involves the use of explosives” (the “enumerated-offense clause”); or (3) “otherwise involves
 conduct that presents a serious potential risk of physical injury to another” (the “residual
 clause”). 18 U.S.C. § 924(e)(2)(B). It was this third clause—the residual clause—that the
 Supreme Court deemed unconstitutional in Johnson. 135 S. Ct. at 2563.

 Section 4B1.1 enhances a defendant’s offense level if he or she qualifies as a “career offender,”
 i.e., adult defendant whose offense of conviction is a “crime of violence or controlled substance
 offense” and who has “at least two prior felony convictions of either a crime of violence or a
 controlled substance offense.” U.S. Sentencing Manual § 4B1.1(a). “Crime of violence” under
 the Guidelines is defined in an almost identical manner as “violent felony” under the ACCA.
 See U.S. Sentencing Manual § 4B1.2(a) (adopting identical use-of-force and residual clauses as
 well as a nearly identical enumerated-offense clause).

 Section 924(c)(1)(A) makes it a crime for an individual, “in relation to any crime of violence or
 drug trafficking crime . . . for which the person may be prosecuted in a court of the United
 States, [to] use[,] carr[y] [or possess] a firearm . . . in furtherance of . . . such crime.” 18 U.S.C.
 § 924(c)(1)(A). Section 924(c)(3) goes on to define “crime of violence” as any “felony” that
 “has as an element the use, attempted use, or threatened use of physical force against the person
 or property of another” (use-of-physical-force clause); or “by its nature, involves a substantial
 risk that physical force against the person or property of another may be used in the course of
 committing the offense” (“residual clause”).
                                                    3


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 assault, robbery, or attempted robbery of a person having lawful charge, control, or custody of

 mail matter, money, or other property of the United States, 18 U.S.C. § 2114(a), categorically

 falls within the scope of that provision. See, e.g., In re Watt, No. 16-14675, 2016 WL 3941083,

 at *1 (11th Cir. July 21, 2016) (explaining that a violation of 18 U.S.C. § 2114(a) would

 constitute a crime of violence under § 924(c)(3)(A)); United States v. Enoch, No. 15-cr-66, 2015

 WL 6407763, at *3 (E.D. Ill. Oct. 21, 2015) (concluding violations of 18 U.S.C. § 2114(a)

 categorically qualified as crimes of violence under § 924(c)(3)(A), the use-of-physical-force

 clause); accord United States v. McBride, No. 15-3759, 2016 WL 3209496, at *2 (6th Cir. June

 10, 2016) (finding that federal bank robbery, in violation of 18 U.S.C. § 2113(a), which can be

 committed “by force and violence, or by intimidation,” falls within Section 4B1.2(a)’s use-of-

 physical-force clause); United States v. Mitchell, 743 F.3d 1054, 1058–60 (6th Cir. 2014)

 (finding that Tennessee robbery, which can be committed “by violence or putting the person in

 fear,” categorically qualifies as a violent felony under the use-of-physical-force clause). In light

 of the foregoing, Johnson is inapposite and cannot operate as a basis for collateral relief.

 IV.    CONCLUSION

        For the reasons discussed, Petitioner’s § 2255 motion [Doc. 272] will be DENIED and

 DISMISSED WITH PREJUDICE. The Court will CERTIFY any appeal from this action

 would not be taken in good faith and would be totally frivolous. Therefore, this Court will

 DENY Petitioner leave to proceed in forma pauperis on appeal. See Rule 24 of the Federal

 Rules of Appellate Procedure. Petitioner having failed to make a substantial showing of the

 denial of a constitutional right, a certificate of appealability SHALL NOT ISSUE. 28 U.S.C. §

 2253; Rule 22(b) of the Federal Rules of Appellate Procedure.

        AN APPROPRIATE ORDER WILL ENTER.

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                                            /s/ Travis R. McDonough
                                            TRAVIS R. MCDONOUGH
                                            UNITED STATES DISTRICT JUDGE




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